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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

      v.                                                    DECISION AND ORDER
                                                               13-CR-80(12)S
PHAYON REDMOND a/k/a Booper,

                             Defendant.



      1.     On April 23, 2015, the Defendant entered into a written plea agreement

(Docket No. 301) and pled guilty to Count 1 of the Superseding Indictment (Docket No.

220) charging a violation of Title 21 U.S.C. § 846, (conspiracy to possess with intent to

distribute, and to distribute, cocaine base).

      2.     On April 23, 2015, the Honorable Leslie G. Foschio, United States

Magistrate Judge, filed a Report and Recommendation (Docket No. 303) recommending

that Defendant’s plea of guilty be accepted and the Defendant adjudicated guilty.

      3.     This    Court    has   not   received   objections   to   the    Report   and

Recommendation in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

      4.     This Court has carefully reviewed de novo Judge Foschio’s April 23, 2015,

Report and Recommendation, the plea agreement, the Superseding Indictment, and the

applicable law. Upon due consideration, this Court finds no legal or factual error in

Judge Foschio’s Report and Recommendation, and will accept Judge Foschio’s

recommendation that Defendant’s plea of guilty be accepted and that the Defendant be

adjudicated guilty as charged.
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         IT HEREBY IS ORDERED, that this Court accepts Judge Foschio’s April 23,

2015, Report and Recommendation (Docket No. 303) in its entirety, including the

authorities cited and the reasons given therein.

         FURTHER, that the plea of guilty of Defendant, Phayon Redmond a/k/a Booper

is accepted, and he is now adjudged guilty of Title 21 U.S.C. § 846.

         SO ORDERED.


Dated:     May 12, 2015
           Buffalo, New York


                                                           s/William M. Skretny
                                                        WILLIAM M. SKRETNY
                                                   Senior United States District Judge




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